       Case 2:21-cr-00109-DAD Document 78 Filed 07/06/21 Page 1FILED
                                                                  of 1
                      UNITED STATES DISTRICT COURT            July 2, 2021
                     EASTERN DISTRICT OF CALIFORNIA       CLERK, US DISTRICT COURT
                                                                         EASTERN DISTRICT OF
                                                                             CALIFORNIA


UNITED STATES OF AMERICA,                        Case No. 2:21-cr-00109-JAM

                 Plaintiff,

      v.                                               ORDER FOR RELEASE OF
                                                        PERSON IN CUSTODY
JOSE GENARO VARGAS-RAMIREZ,

                 Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release JOSE GENARO VARGAS-

RAMIREZ , Case No. 2:21-cr-00109-JAM Charge 21 USC § 846, from custody for

the following reasons:

                         Release on Personal Recognizance

                         Bail Posted in the Sum of $

                              X   Unsecured Appearance Bond $      50,000

                                  Appearance Bond with 10% Deposit

                                  Appearance Bond with Surety

                                  Corporate Surety Bail Bond

                                  (Other): The defendant is to be released on
                           X      07/03/2021 at 9:00 AM to the custody and transport of

                                  Investigator Juan Barcenas.

      Issued at Sacramento, California on July 2, 2021 at 3:12 PM.



                                       By:

                                             Magistrate Judge Allison Claire
